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                                                                                       Cullen and Dykman LLP
                                                                                             Continental Plaza
                                                                                       433 Hackensack Avenue
                                                                                         Hackensack, NJ 07601
                                                                                                T: 201.488.1300
                                                                                                F: 201.488.6541
LEON J. SOKOL
PARTNER
lsokol@cullenllp.com




                                                                    January 12, 2024

  Patricia S. Dodszuweit, Clerk of Court
  U.S. Court of Appeals for the Third Circuit
  21400 United States Courthouse
  601 Market Street
  Philadelphia, PA 19106-1790

      Re:      Letter pursuant to Fed. R. App. P. 28(j) responding to the Siegel Plaintiffs’
               submission in No. 23-1900, Siegel v. Attorney General of New Jersey and No.
               23-2043, Koons v. Attorney General of New Jersey.

  Dear Ms. Dodszuweit:

  Pursuant to FRAP 28(j), we submit this letter responding to the Siegel Plaintiffs’ submission
  dated January 9, 2024 (Document 131) that calls to this Court’s attention the Ninth Circuit’s
  disposition dated January 6, 2024 of a prior preliminary injunction issued by the district
  court in May v. Bonta, 2023 WL 8946212 (C.D. Cal. Dec. 20, 2023).

  In their letter to this Court, the Siegel Plaintiffs state:

         After the district court issued its decision in May, California sought an emergency
         stay pending appeal from the Ninth Circuit. Although a motions panel granted an
         administrative stay as the merits panel considered that request, the merits panel
         ultimately denied it. See May v. Bonta, No. 23-4356 (9th Cir.), Dkt.20.1
         [Document 131, at 2]

  The Siegel Plaintiffs’ characterization of the Ninth Circuit’s January 6, 2024 disposition of
  the district court’s preliminary injunction requires clarification. By order dated January 6,
  a panel of the Ninth Circuit dissolved a prior administrative stay (that had been granted by
  a different panel) but – at the same time – stated that “the emergency motion… for a stay


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pending appeal and for an interim administrative stay… have been referred to the merits
panel…” See May v. Bonta, No. 23-4356 (9th Cir.), Dkt.20.1 (January 6, 2024).
Furthermore, a separate motion for an interim administrative stay was “denied pending
further order of the court.” Ibid.

Thus, although the Siegel Plaintiffs are bringing to this Court’s attention the Ninth Circuit’s
disposition of a motion for a stay and suggesting that the Ninth Circuit’s disposition is
highly favorable to the Plaintiffs, a careful reading of the Ninth Circuit’s actual order instead
suggests that the issue of a stay in May v. Bonta has not yet been settled by the Ninth Circuit.
Thus, contrary to the Siegel Plaintiffs’ contention, the Ninth Circuit’s mere emergent
interim disposition pending further order of that Court is of little, if any, significance to this
Court’s consideration of the pending appeal in this matter.

We appreciate the Court’s consideration.

                                                        Respectfully submitted,
                                                        Cullen and Dykman LLP

                                                        By:/s/ Leon J. Sokol
                                                               Leon J. Sokol

                                                        Kologi ◆ Simitz,
                                                        Counsellors at Law

                                                        By:/s/ Edward J. Kologi
                                                               Edward J. Kologi

                                                        Attorneys for Intervenors-Defendants-
                                                        Appellees Senate President Nicholas P.
                                                        Scutari and Assembly Speaker Craig J.
                                                        Coughlin



   cc: All counsel via ECF


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